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                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530




                                                      April 27, 2021


Kira West

                      Re:     United States v. Ruben Verastigui
                              Criminal Case No. 21cr409

Dear Ms. West,

       This letter sets forth the full and complete plea offer to your client, Ruben Verastigui
(hereinafter referred to as “your client” or “defendant”), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as “the Government” or “this
Office”). This plea offer expires on May 10, 2021. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided
below. Upon receipt of the executed document, this letter will become the Plea Agreement (“this
Agreement”). This is a plea agreement pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C). The terms of the offer are as follows:

       1.      Charges and Statutory Penalties

       Your client agrees to plead guilty to a criminal Information, a copy of which is attached,
charging your client with Receipt of Child Pornography, in violation of 18 U.S.C. Sections
2252(a)(2).

        Your client understands that a violation of of 18 U.S.C. § 2252(a)(2) carries a mandatory
minimum sentence of 5 years of imprisonment and a maximum sentence of 20 years of
imprisonment; a fine of $250,000 or twice the pecuniary gain or loss of the offense, pursuant to
18 U.S.C. § 3571(b)(3); a term of supervised release of at least 5 years but not more than life,
pursuant to 18 U.S.C. § 3583(k); mandatory restitution under 18 U.S.C. § 3663A; and an
obligation to pay any applicable interest or penalties on fines and restitution not timely made.

In addition, your client agrees to pay a special assessment of $100 per felony conviction to the
Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing
Commission, Guidelines Manual (2018) (hereinafter “Sentencing Guidelines,” “Guidelines,” or


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“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation. Further, your
client understands that, if your client has two or more convictions for a crime of violence or
felony drug offense, your client may be subject to the substantially higher penalties provided for
in the career-offender statutes and provisions of the Sentencing Guidelines.

        Your client understands that, pursuant to 18 U.S.C. § 3014(a), your client must pay an
additional special assessment in the amount of $5,000, unless your client is found by the Court to
be indigent at the time of sentencing.

        Your client also understands that the court shall impose mandatory restitution pursuant to
18 U.S.C. § 2259, which restitution amount shall reflect the defendant’s relative role in the
causal process that underlies the victims’ losses.


       2.      Factual Stipulations

        Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offense(s) to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

       3.      Additional Charges

         In consideration of your client’s guilty plea to the above offense(s), your client will not
be further prosecuted criminally by this Office for the conduct set forth in the attached Statement
of Offense. Moreover, if your client’s plea to receipt of child pornography is accepted by the
Court, and provided the plea is not later withdrawn or challenged, the Arizona State Attorney
General’s Office and the U.S. Attorney’s Office for the District of Arizona will not prosecute
your client for his distribution, receipt, access with intent to view, possession, and/or conspiracy
to distribute, receive, access with intent to view, or possession of child pornography relating to
the conduct in the Statement of Facts and the underlying investigation of this case.

       4.    Agreed Sentence Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C)

        Pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, your client and
the Government agree that a sentence between 144 months and 188 months of incarceration,
followed by 5 years of supervised release, is the appropriate sentence for the offense(s) to which
your client is pleading guilty. This Agreement with respect to the appropriate sentence affects
only the term of incarceration and supervised release. The Court may impose other applicable
statutory provisions as part of the sentence, including specifically fines and other conditions of
supervised release.




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               A.      Acceptance of Agreement by the Court

        The Government agrees, pursuant to Rule 11(c)(1)(C), to present this Agreement between
the parties to the Court for its approval. In accordance with Rule 11(c)(4) and (5), the Court may
accept or reject this Agreement. If the Court accepts this Agreement, the Court will sentence
your client to between 144 months and 188 months of incarceration, followed by 5 years of
supervised release. The parties agree that this Office and your client retain their full rights to
allocute for any sentence between 144 and 188 months. Your client understands, however, that
the sentence to be imposed within the range to which the parties agree in this Agreement is a
matter solely within the discretion of the Court. The parties further agree that the sentence
imposed within that range will be determined by the Court after considering the factors set forth
in 18 U.S.C. § 3553(a) and the applicable guideline range under the United States Sentencing
Guidelines, discussed below. Your client understands that if the Court accepts this Agreement,
then the Court will embody in the judgment and sentence the disposition provided for in this
Agreement, pursuant to Rule 11(c)(4) of the Federal Rules of Criminal Procedure.

               B.      Rejection of this Agreement by the Court

        The parties understand that the Court may not agree that the sentencing range of 144
months to 188 months agreed to by the parties is an appropriate one and may reject this
Agreement pursuant to Rule 11(c)(5) of the Federal Rules of Criminal Procedure. Your client
understands that if this happens, the Court, in accordance with the requirements of Rule 11(c)(5),
will inform the parties of its rejection of this Agreement, and will afford your client an
opportunity to withdraw the plea or maintain the plea. If your client elects to maintain the plea,
the Court will inform your client that a final disposition may be less favorable to your client than
that contemplated by this Agreement. Your client further understands that if the Court rejects
this Agreement, the Government also has the right to withdraw from this Agreement and to be
freed from all obligations under this Agreement, and may in its sole discretion bring different or
additional charges before your client enters any guilty plea in this case.

        If the Court rejects this Agreement, your client elects to maintain this plea, and the
Government does not exercise its right to withdraw from this Agreement, the parties agree that
your client will be sentenced upon consideration of the factors set forth in 18 U.S.C. § 3553(a)
and the Sentencing Guidelines. Your client further understands that, in such case, the sentence to
be imposed is a matter solely within the discretion of the Court, and the Court is not obligated to
impose a sentence within the Sentencing Guidelines range or to follow any recommendation of
the Government at the time of sentencing.


       5.      Sentencing Guidelines Analysis

       In accordance with Paragraph 4 above, your client understands that, but for the above
described agreed sentence pursuant to Rule 11(c)(1)(C), the sentence in this case would be
determined by the Court, pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a
consideration of the Sentencing Guidelines and policies promulgated by the Sentencing



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Guidelines. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), and to assist the Court
in determining the appropriate sentence, the parties agree to the following:

       A.      Estimated Offense Level Under the Guidelines

        The parties are in agreement as to the Guideline range in this case and that the following
sentencing enhancements are legally applicable. The defendant reserves the right to argue that,
as a policy matter, the use of a computer enhancement should not apply, even though the
defendant agrees that it is legally applicable.

               U.S.S.G. § 2G2.2              Base Offense Level                            22

                                             Specific Offense Characteristics

               U.S.S.G. § 2G2.2(b)(2)        Not attained the age of 12                    +2


               U.S.S.G. § 2G2.2(b)(3)        Distribution                                  +2

               U.S.S.G. § 2G2.2(b)(4)        Sadomasochistic Conduct                       +4

               U.S.S.G. § 2G2.2(b)(6)        Use of a Computer                             +2

               U.S.S.G. § 2G2.2(b)(7)        600 or more Images                            +5

                                                                            Total          37

       Acceptance of Responsibility

         The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. Furthermore,
assuming your client has accepted responsibility as described in the previous sentence, the
Government agrees that an additional 1-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1(b), because your client has assisted authorities by providing timely notice of your
client’s intention to enter a plea of guilty, thereby permitting the Government to avoid preparing
for trial and permitting the Court to allocate its resources efficiently.

        Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that



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constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this
Agreement.

       In accordance with the above, the Estimated Offense Level will be at least 34.

               B.      Estimated Criminal History Category

        Based upon the information now available to this Office, your client has no prior criminal
history.

        Accordingly, your client is estimated to have no criminal history points and your client’s
Criminal History Category is estimated to be I (the “Estimated Criminal History Category”).
Your client acknowledges that after the pre-sentence investigation by the United States Probation
Office, a different conclusion regarding your client’s criminal convictions and/or criminal history
points may be reached and your client’s criminal history points may increase or decrease.

               C.      Estimated Guidelines Range

        Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above, your client’s estimated Sentencing Guidelines range is 151 months to 188
months (the “Estimated Guidelines Range”). In addition, the parties agree that, pursuant to
U.S.S.G. § 5E1.2, should the Court impose a fine, at Guidelines level 34 the estimated applicable
fine range is $35,000 to $350,000. Your client reserves the right to ask the Court not to impose
any applicable fine.

        The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted. Except as provided for in the “Reservation of
Allocution” section below, the parties also agree that neither party will seek any offense-level
calculation different from the Estimated Offense Level calculated above in subsection A.
However, the parties are free to argue for a Criminal History Category different from that
estimated above in subsection B.

        Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, that will not be a basis for withdrawal or recission of this Agreement by
either party.

        Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the



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Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.



       6.      Court Not Bound by this Agreement or the Sentencing Guidelines

        In accordance with Paragraph 4 above, should the Court reject this Agreement, your
client elect to maintain the plea, and the Government fail to exercise its right to withdraw from
this Agreement, the parties further agree that a sentence within the Estimated Guidelines Range
would constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C. §
3553(a), should such a sentence be subject to appellate review notwithstanding the appeal waiver
provided below. Nevertheless, your client reserves the right to seek a sentence below the
Estimated Guidelines Range based upon factors to be considered in imposing a sentence
pursuant to 18 U.S.C. § 3553(a).

        Your client understands that should the Court reject this Agreement, your client elect to
maintain the plea, and the Government fail to exercise its right to withdraw from this Agreement,
the sentence in this case will be imposed in accordance with 18 U.S.C. § 3553(a), upon
consideration of the Sentencing Guidelines. Your client further understands that the sentence to
be imposed is a matter solely within the discretion of the Court. Your client acknowledges that
the Court is not obligated to follow any recommendation of the Government at the time of
sentencing. Your client understands that neither the Government’s recommendation nor the
Sentencing Guidelines are binding on the Court.

        Your client acknowledges that should the Court reject this Agreement, your client elect to
maintain the plea, and the Government fail to exercise its right to withdraw from this Agreement,
your client’s entry of a guilty plea to the charged offense(s) authorizes the Court to impose any
sentence, up to and including the statutory maximum sentence, which may be greater than the
applicable Guidelines range. The Government cannot, and does not, make any promise or
representation as to what sentence your client will receive should the Court reject this
Agreement, your client elect to maintain the plea, and the Government fail to exercise its right to
withdraw from this Agreement. Moreover, it is understood that your client will have no right to
withdraw your client’s plea of guilty should the Court impose a sentence that is outside the
Guidelines range or if the Court does not follow the Government’s sentencing recommendation.

       7.      Reservation of Allocution

        The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty, to
inform the presentence report writer and the Court of any relevant facts, to dispute any factual
inaccuracies in the presentence report, and to contest any matters not provided for in this
Agreement. The parties also reserve the right to address the correctness of any Sentencing
Guidelines calculations determined by the presentence report writer or the court, even if those
calculations differ from the Estimated Guidelines Range calculated herein. In the event that the

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Court or the presentence report writer considers any Sentencing Guidelines adjustments,
departures, or calculations different from those agreed to and/or estimated in this Agreement, or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors
listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related inquiries from
the Court or the presentence report writer and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

        In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of
allocution in connection with any post-sentence motion which may be filed in this matter and/or
any proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.


       8.      Conditions of Release

       Your client acknowledges that, because your client is pleading guilty to an offense
described in subparagraph (A), (B), or (C) of 18 U.S.C. § 3142(f)(1), the Court is required to
order your client to be detained pending sentencing pursuant to 18 U.S.C. § 3143(a)(2).

       9.      Waivers

               A.     Venue

       Your client waives any challenge to venue in the District of Columbia.

               B.     Statute of Limitations

        Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)
may be commenced or reinstated against your client, notwithstanding the expiration of the statute
of limitations between the signing of this Agreement and the commencement or reinstatement of
such prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of
Offense that is not time-barred on the date that this Agreement is signed.


               C.     Trial Rights




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        Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
right to a jury trial. If there were a jury trial, your client would have the right to be represented
by counsel, to confront and cross-examine witnesses against your client, to challenge the
admissibility of evidence offered against your client, to compel witnesses to appear for the
purpose of testifying and presenting other evidence on your client’s behalf, and to choose
whether to testify. If there were a jury trial and your client chose not to testify at that trial, your
client would have the right to have the jury instructed that your client’s failure to testify could
not be held against your client. Your client would further have the right to have the jury
instructed that your client is presumed innocent until proven guilty, and that the burden would be
on the United States to prove your client’s guilt beyond a reasonable doubt. If your client were
found guilty after a trial, your client would have the right to appeal your client’s conviction.
Your client understands that the Fifth Amendment to the Constitution of the United States
protects your client from the use of self-incriminating statements in a criminal prosecution. By
entering a plea of guilty, your client knowingly and voluntarily waives or gives up your client’s
right against self-incrimination.

        Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it, except where the Court rejects this Agreement
under Rule 11(c)(5).

        Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Court.


               D.      Appeal Rights

        Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the conviction in this case on any basis, including but not limited to claim(s) that (1) the
statute(s) to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct
does not fall within the scope of the statute(s). Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term
or condition of supervised release, authority of the Court to set conditions of release, and the
manner in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to

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this waiver, your client is aware that your client’s sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your client knowingly and willingly waives your client’s right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Government in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,
your client retains the right to appeal on the basis of ineffective assistance of counsel, but not to
raise on appeal other issues regarding the conviction or sentence.

               E.      Collateral Attack

        Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.
§ 3582(c)(2), but agrees to waive the right to appeal the denial of such a motion.

       10.     Hearings by Video Teleconference and/orTeleconference

         Your client agrees to consent, under the CARES Act, Section 15002(b)(4) and otherwise,
to hold any proceedings in this matter – specifically including but not limited to presentment,
initial appearance, plea hearing, and sentencing – by video teleconference and/or by
teleconference and to waive any rights to demand an in-person/in-Court hearing. Your client
further agrees to not challenge or contest any findings by the Court that it may properly proceed
by video teleconferencing and/or telephone conferencing in this case because, due to the
COVID-19 pandemic, an in-person/in-Court hearing cannot be conducted in person without
seriously jeopardizing public health and safety and that further there are specific reasons in this
case that any such hearing, including a plea or sentencing hearing, cannot be further delayed
without serious harm to the interests of justice.


       11.     Use of Self-Incriminating Information

        The Government and your client agree, in accordance with U.S.S.G. § 1B1.8, that the
Government will be free to use against your client for any purpose at the sentencing in this case
or in any related criminal or civil proceedings, any self-incriminating information provided by
your client pursuant to this Agreement or during the course of debriefings conducted in
anticipation of this Agreement, regardless of whether those debriefings were previously covered
by an “off the record” agreement by the parties.




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       12.     Restitution

       Your client understands that the Court has an obligation to determine whether, and in
what amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A and 18 U.S.C.
§ 2259 at the time of sentencing.

         Your client agrees to pay restitution to all victims associated with your client’s conduct
charged in all counts of the Information who can be identified at or before sentencing. Your
client agrees to pay restitution to all victims associated with your client’s receipt, possession, and
distribution of child pornography from April 1, 2020 through February 5, 2021. This includes all
minors engaging in sexually explicit conduct depicted in any images or videos distributed,
transported, received or possessed by your client on his digital devices or any online accounts.
Your client understands that these victims still maintain a right to request a larger amount of
restitution from the Court, and that the agreed upon payment to each victim is the minimum
amount due.

        Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the
collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
party. Your client agrees to submit a completed financial statement on a standard financial
disclosure form which has been provided to you with this Agreement to the Financial Litigation
Unit of the United States Attorney’s Office, as it directs. If you do not receive the disclosure
form, your client agrees to request one from usadc.ecfflu@usa.doj.gov.

        Your client will complete and electronically provide the standard financial disclosure
form to usadc.ecfflu@usa.doj.gov 30 days prior to your client’s sentencing. Your client agrees
to be contacted by the Financial Litigation Unit of the United States Attorney’s Office, through
defense counsel, to complete a financial statement. Upon review, if there are any follow-up
questions, your client agrees to cooperate with the Financial Litigation Unit. Your client
promises that the financial statement and disclosures will be complete, accurate and truthful, and
understands that any willful falsehood on the financial statement could be prosecuted as a
separate crime punishable under 18 U.S.C. § 1001, which carries an additional five years’
incarceration and a fine.

        Your client expressly authorizes the United States Attorney’s Office to obtain a credit
report on your client in order to evaluate your client’s ability to satisfy any financial obligations
imposed by the Court or agreed to herein.

        Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. If
the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment, including without
limitation by administrative offset. If your client is sentenced to a term of imprisonment by the



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Court, your client agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility
Program, regardless of whether the Court specifically imposes a schedule of payments.

        Your client certifies that your client has made no transfer of assets in contemplation of
this prosecution for the purpose of evading or defeating financial obligations that are created by
this Agreement and/or that may be imposed by the Court. In addition, your client promises to
make no such transfers in the future until your client has fulfilled the financial obligations under
this Agreement.

        13.     Forfeiture

        The United States and your client hereby agree that the electronic devices seized from your
client and your client’s residence on February 5, 2021 (the date of his arrest) and currently in the
custody and/or control of the FBI, was properly seized and was involved in or used in violation of
Federal law by your client.

        Your client agrees that this property is subject to seizure and forfeiture by the United States,
and that no defense exists to the seizure and forfeiture of his interest in this property by the United
States. See 18 U.S.C. § 2428. As such, your client hereby relinquishes all claim, title, and interest
he has in the above-listed property to the United States and consents to the civil, administrative,
or judicial forfeiture of the property. Your client agrees that he will not file a claim to this property
and withdraws any claim for the property that he may have filed. Your client knowingly and
voluntarily waives any right to notice provided for in 18 U.S.C. § 983 and Rule 32.2 of the Federal
Rules of Criminal Procedure. Your client also hereby consents to the property’s destruction by,
and/or abandonment to, the law enforcement agency. Your client certifies that he is the sole owner
of the property and that no one else has an ownership interest in this property.

        Your client agrees to waive all constitutional and statutory challenges in any manner
(including, but not limited to, direct appeal) to any forfeiture carried out in accordance with this
plea agreement on any grounds, including that the forfeiture constitutes an excessive fine or
punishment.


        14.     Sex Offender Registration

         Your client acknowledges and agrees that, pursuant to the Sex Offender Registration and
Notification Act, 18 U.S.C § 2250, 34 U.S.C. §§ 20911(1), and 20915, your client is required to
register as a sex offender, and may be required to register for the rest of his lifetime depending
on the jurisdiction in which he resides, and to keep the registration current in jurisdictions where
your client resides, where your client is employed and where your client is a student. Your client
understands that the requirements for registration include providing your client’s name, residence
address, and the names and addresses of any places where your client will be employed or a
student, among other information. Your client understands that should your client knowingly
fail to comply with your client’s obligations under the Sex Offender Registration and
Notification Act, pursuant to 18 U.S.C. § 2250, your client could be prosecuted for the offense of
failure to register as a sex offender and subject to a term of up to ten years imprisonment, a fine

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or both. Your client further understands that compliance with the requirements of the Sex
Offender Registration and Notification Act is a specific condition of supervised release pursuant
to 18 U.S.C. § 3583 and that failure to comply with your client’s obligations under the Sex
Offender Registration and Notification Act could subject your client to revocation of supervised
release in addition to prosecution for the felony offense of failure to register.

       15.     Breach of Agreement

        Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; and (d) the Government will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client and any of the information or materials provided by your client, including such
statements, information and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously characterized as “off –the-record” debriefings, and including
your client’s statements made during proceedings before the Court pursuant to Rule 11 of the
Federal Rules of Criminal Procedure.

       Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

        Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client’s
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.




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       16.     Complete Agreement

        No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attorney for the
District of Columbia.

         Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attorney’s Office for the District of Columbia.
This Agreement does not bind the Civil Division of this Office or, other than those offices
specified in this agreement, any other United States Attorney’s Office, nor does it bind any other
state, local, or federal prosecutor. The Attorney General’s Office in Arizona has agreed not to
prosecute certain charges as described above. It also does not bar or compromise any civil, tax,
or administrative claim pending or that may be made against your client.

       If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than May
10, 2021.

                                                    Sincerely yours,

                                                    __________________________
                                                    Channing D. Phillips
                                                    Acting United States Attorney



                                             By:    ____________________________
                                                    April N. Russo
                                                    Assistant United States Attorney




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                                  DEFENDANT'S ACCEPTANCE

       I have read every page of this Agreement and have discussed it with my attorney, Kira
West, Esq. I fully understand this Agreement and agree to it without reservation. I do this
voluntarily and of my oWn free will, intending to be legally bound. No threats have been made
to me nor am I under the ,influence of anything that could impede my ability to understand this
Agreement fully. I am pleading guilty because I am in fact guilty of the offense(s) identified in
this Agreement.          '

        Lreaffinn that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am s,atisfied with the legal services provided by my attorney in connection
with this Agreement and matters related to it.




                                          aJ!~~
                                      Rutsen Verastigui
                                      Defendant
                                                                      .......



                                A;r:rORNEY'S,ACKNOWbEDGMENT

       I have read ever,y p~ge of this Agreement, reviewed this Agreement with my client,
Ruben Verastigui, and fully discussed the provisions of this Agreement with my client. These
pages accurately and completely set forth the entire Agreement. I concur in my client's desire to
plead guilty as set forth in this Agreement.




Date:~ ~ Jodi        .      ,
                                       ~~
                                       Kira West, Esquire
                                       Attorney for Defendant




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